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AO 450 (Rev.5/85) Judgment in a Civil Case




                                  United States District Court
                                               District of Utah


                   SEAN JULANDER
                                   Plaintiff            JUDGMENT IN A CIVIL CASE
                                   v.

   WALLACE LEE, IN HIS OFFICIAL                         Case Number: 2:18-CV-9 TS
     CAPACITY AS JUDGE, 6TH
  DISTRICT SEVIER CO., AND IN HIS
      INDIVIDUAL CAPACITY
                                   Defendant




           IT IS ORDERED AND ADJUDGED


           Plaintiff’s claim against Defendant for money damages is dismissed with prejudice. All
           other claims are dismissed without prejudice.



March 6, 2018                                       BY THE COURT:
Date

                                                    _____________________________________
                                                    Ted Stewart
                                                    United States District Judge
